Case 2:04-cV-O3008-.]PI\/|-de Document 3 Filed 07/26/05 Page 1 of 3 Page|D 3

.C.
IN 'rHE uN:c'rED sTA'rEs DISTRICT coURE\-E° B"' - D

ron 'rHF.. wms'rERN nrs-rn:c'r oF 'rmmsssss
wEsTERN nrvrsrou 05 JUL 26 AH 8= 30

 

\\'UW$ M. GOU\.U
G.ERK US. ?_`HST?M COUHT

JAMES BERNARD, meWWRMHYHS

Plaintiff,
No. 04-3008 Ml/V

‘V'»

BNSF RAILWLY CO.,

`IVV\J`-fvvv\-{

Defendant.

 

ORDER OF DISMISSAL

 

Plaintiff filed his Complaint in this case on December l3,
2004. More than 120 days has passed since the filing of the
Complaint and it appears that Plaintiff has not effected service
upon the Defendant. On May 4, 2005, Plaintiff was ordered to
show cause within ten days of the date of entry of the show cause
order why this action should not be dismissed in accordance with

Federal Rule of Civil Procedure 4(m.).1 To date, Plaintiff has

 

1 Federal Rule of Civil Procedure 4(m) provides:

If service of the summons and complaint is not made upon a
defendant within 120 days after the filing of the complaint,
the court, upon motion or on its own initiative after notice
to the plaintiff, shall dismiss the action without prejudice
as to that defendant or direct that service be effected
within a specified time; provided that if the plaintiff
shows good cause for the failure, the court shall extend the
time for service for an appropriate period. This subdivision
does not apply to service in a foreign country pursuant to
subdivision (f) or (j)(l).

Fed. R. Civ. P. 4(m).

T'nis document entered on the docket sheet in com lience
mm Rule 58 and/or 79(3) FRCP on 2322 :Q

 

Case 2:04-cV-O3008-.]PI\/|-de Document 3 Filed 07/26/05 Page 2 of 3 Page|D 4

not filed a response to the show cause order. Accordingly, the
Court DISMISSES this action, without prejudice, pursuant to

Federal Rule of Civil Procedure 4(m).

so oRDERED this 25 day of July, 2005.

9 /9‘ Oizib

P. MCCALLA
ITED S'I'ATES DISTRICT JUDGE

ISTRCIT C URT - WESTRNE ISRICT oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:04-CV-03008 Was distributed by faX, mail, or direct printing on
July 26, 2005 to the parties listed.

 

 

Richard B. Fields

LAW OFFICE OF RICHARD B. FIELDS
688 Jefferson Ave.

Memphis7 TN 38105--193

Honorable Jon McCalla
US DISTRICT COURT

